          Case 3:19-bk-30822                     Doc 89          Filed 07/26/19 Entered 07/26/19 16:29:40                                        Desc Main
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B2550 (Form 2550 - Subgoena to Appear and Testify at a Hearing or Trial in a Bankruptcy Case or Adversary Proceeding) ( 12/1 5)



                                       UNITED STATES B ANKRUPTCY COURT
                     SOUTHERN                                                 District of         OHIO
  --------------------                                                                        --------------------
        T AGNETICS INC.
In re - -  -----------------
                                     Debtor                                                                                       c;.
                                                                                       Case No.          19-30822                 ·;;   c, :~1•
                                                                                                    - - - - - - - - - -,_ . \~r:?~
          (Complete if issued in an adversary proceeding)                                                                         , . ·. ·~n ~:..
                                                                                       Chapter __
                                                                                                7 _ __                                   \   ,. 1 ·,- \
                                                                                                                                             .   \


                                     Plaintiff
                                        V.                                             Adv. Proc. No. _ _ _ _ _ __
                                                                                                                                                               (
                                   Defendant

                              SUBPOENA TO APPEAR AND TESTIFY
           AT A HEARING OR TRIAL IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
          Lou Fernandez, 4437 Stonehaven Dr., Long Grove, IL 60047
 To: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                 (Nam e ofperson to whom the subpoena is directed)

  D   YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the time, date, and place set forth below
 to testify at a hearing or trial in this bankruptcy case (or adversary proceeding). When you arrive, you must remain at the
 court until the judge or a court official allows you to leave.
 PLACE                                                                                                          COURTROOM           West Courtroom
              US Bankruptcy Court Southern District of Ohio Dayton Division
              120 W. Third St.                                                                                  DATE AND TIME
              Dayton, OH 45402                                                                                   07/29/ 19                           9:30 am
 You must also bring with you the following documents, electronically stored information, or objects (leave blank if not
 applicable):
    All documents that show detail on salary accruals for Kayser, Earley, Hager 2015-present, verify production of financials that were submitted by
    Tagnetics attorneys, explain any revisions to balance sheet entries and vendor liabilities 20 I4-present, provide contact information for vendors that are
    owed b Ta etics.
         The following provisions of fed. R . Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
 attached-Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
 subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
 doing so.

 Date: 07 /26/ l 9
                                     CLERK OF COURT

                                                                                      OR

                                     Signature of Clerk or Deputy Clerk                              Attorney 's signature


 The name, address, email address, and telephone number of the attorney representing (name ofparty)
 Kayser, Earley, Hager, Pro Se      , who issues or requests this subpoena, are:

      Kenneth Kayser, PO Box 115 Catawba, VA 24070, (540)384-6199, drkwkayser@gmail.com


                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
 inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
 the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
on (date)____                 By email to Stephen B. Stem, 238 W. Street, Annapolis, MD 21401; Robert Kracht, 101 W.
                              Prospect Ave, Suite 1800, Cleveland, OH 44115
0   I served the subpoena by delivering a copy to the named person as follows: Lou Fernandez, 4437 Stonehaven Drive,
    Long Grove, IL 6004 7
_ _ _ _ _ _ _ _ _ _ _ _ _ _ on(date)                                    July27,2019                 ; or


DI returned the subpoena unexecuted because:                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, l have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of $ _3_5_0_.0_0_ _ _ _ _ __

 My fees are$ 310.00               for travel and$ 40.00               for services, for a total of$         350.00


          I dedace unde< penalty of perjwy that this information is tru' l ,orrect.

Date:
          01,26119                                                                             l'IJJ/ f          s~f:t:
                                                                                    Ronald Earley
                                                                                                              Printed name and title


                                                                                     6429 Winding Tree Dr., New Carlisle, OH 45344
                                                                                                                  Server's address



Additional information concerning attempted service, etc.:
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                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 901 6, Federal Rules of Bankruptcy Procedure)

 ( c) Place of complia nce.                                                                    (ii) disclosing an unretained expert's opinion or information that does
                                                                                         not describe specific occurrences in dispute and results from the expert's
  (I) For a Trial, Hearing, or Deposition. A subpoena may command a                      study that was not requested by a party.
person to attend a trial , hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within I 00 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                               modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly             conditions if the serving party:
transacts business in person, if the person                                                     (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party's officer; or                                            be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                       (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                 compensated.

  (2) For Other Discovery. A subpoena may command:                                       (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,               (I) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                           procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                         information:
                                                                                             (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enfo rcement.
                                                                                         documents must produce them as they are kept in the ordinary course of
                                                                                         business or must organize and label them to correspond to the categories in
      (I) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                         the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                             (B) Form/or Producing Electronically Stored lnformatio11 Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                         Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                         electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction -
                                                                                         a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a
                                                                                         usable form or forms.
party or attorney who fails to comply.
                                                                                             (C) Electronically Stored Information Produced in Only One Form. The
                                                                                         person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection .
                                                                                         information in more than one form.
     (A) Appearance Not Required. A person commanded to produce
                                                                                             (D) Inaccessible Electro11ically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                         responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                         from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a depos1t10n,
                                                                                         of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                         order, the person responding must show that the information is not
     (B) Objections. A person commanded to produce documents or tangible
                                                                                         reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                         made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                         requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                         26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                            (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                              (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                         information under a claim that it is privileged or subject to protection as
       (i) At any time, on notice to the commanded person, the serving party
                                                                                         trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                                (i) expressly make the claim; and
order compelling production or inspection.
                                                                                                (ii) describe the nature of the withheld documents, communications,
       (ii) These acts may be required only as directed in the order, and the
                                                                                         or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                         privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                              (BJ Information Produced. If information produced in response to a
                                                                                         subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                         preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                         received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                         notified, a party must promptly return, sequester, or destroy the specified
      (i) fails io allow a reasonable time to comply;
                                                                                         information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                         until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);                                                 .               information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, 1f no
                                                                                         promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                         where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                         who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                         is resolved.
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:
                                                                                         (~) Contempt. The court for the district where compliance is required - and
      (i) disclosing a trade secret or other confidential research,
                                                                                         also, after a motion is transferred, the issuing court - may hold in contempt
development, or commercial information; or
                                                                                         a person who, having been served, fails without adequate excuse to obey
                                                                                         the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
